                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                                  NO1
                                                                                                        2022
                                      AUSTIN DIVISION


UNITED STATES OF AMERICA                                §
                                                        §
V.                                                      §        CRIMINAL NO. 1 :22-CR-053-LY
                                                        §
(1) FRANKLIN BARRETT SECHRIEST                          §




        Before the Court is Defendant Franklin Barrett Sechriest's Agreed Motion for

Continuance (Clerk's Doc. #64) filed on November 9, 2022. Having considered the motion the

court is of the opinion that the motion should be granted as follows,

        ACCORDINGLY, IT IS ORDERED that all pretrial motions shall be filed on or

before January 3, 2023, and any response to a motion shall be filed on or before January 17,

2023.

        IT IS FURTHER ORDERED that the above entitled and numbered case is reset for

hearing on all pending pretrial motions and docket call on January 31, 2023, at 9:30 AM,

with jury selection and trial on February 13, 2023, at 9:00 AM.

        Pursuant to the Speedy Trial Act, 18 U.S.C.         §   3161(h)(7), the Court finds that the ends of

justice served by allowing the Defendant additional time for pretrial preparation outweighs the

best interest of the public and the Defendant in a speedy trial. The Court's basis for said finding is

that the failure to grant such a continuance in this case would deny counsel for the Defendants the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.   See 18   U.S.C.   §   3161 (h)(7). Thus, the Court finds that the time between the previous

trial setting of December 12, 2022, and the new setting of February 13, 2023, is excludable under

the Speedy Trial Act, 18 U.S.C.        § 3161 (h)(7).
       IT IS FURTHER ORDERED that counsel for the Defendant shall notify the Defendant
                                                                                       of

all Court settings and,   if the Defendant is on bond, advise the Defendant that the Defendant must

be present on the dates and times specified in this Order.

        SIGNED this                 day of November, 2022.




                                                    YEAKE
                                                   ITED STATES DISTRICT JUDGE




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